      Case 4:20-cv-05640-YGR          Document 1437        Filed 04/08/25      Page 1 of 3




                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
                               OAKLAND DIVISION


 EPIC GAMES, INC.,                                Case No. 4:20-cv-05640-YGR-TSH

                  Plaintiff, Counter-defendant,

 APPLE INC.,                                  RESPONSES TO EPIC’S OBJECTIONS
                                              TO SPECIAL MASTER RULINGS ON
                  Defendant, Counterclaimant. APPLE INC.’S PRODUCTIONS OF RE-
                                              REVIEWED PRIVILEGED
                                              DOCUMENTS



The Honorable Thomas S. Hixson
San Francisco Courthouse
Courtroom E - 15th Floor
450 Golden Gate Avenue
San Francisco, CA 94102

Dear Magistrate Judge Hixson,

       Pursuant to section 4 of the Joint Stipulation and Order Approving Privilege Re-Review
Protocol (Dkt. 1092) (the “Protocol”), Apple respectfully submits the following Responses to
Epic’s Objections to certain of the Special Masters’ rulings on Apple’s productions of re-reviewed
and privileged documents, produced in redacted form on March 31, 2025. We are submitting these
documents for in-camera review contemporaneously with this filing.

        Apple’s responses relate only to documents Apple believes are not already covered by Your
Honor’s and Judge Gonzalez Rogers’ existing rulings on Apple’s privilege assertions in this post-
judgment discovery. As previously noted, see Dkt. 1109, Apple reserves all rights as to documents
affected by those rulings, including any post-judgment appellate rights.
      Case 4:20-cv-05640-YGR            Document 1437         Filed 04/08/25       Page 2 of 3




PRIV-APL-EG_00171841, PRIV-APL-EG_00171672, PRIV-APL-EG_00266168

        PRIV-APL-EG_00171841 is an email among various Apple employees (including Sean
Cameron, in-house counsel) regarding certain design updates for changes Apple was making in
response to regulatory requirements in the Netherlands. The majority of the email is unredacted.
The only redacted excerpt relays advice provided by the “legal team” regarding ongoing
interactions with the regulators in the Netherlands. Because this statement expressly relays legal
advice provided by in-house counsel, it is properly redacted as privileged. See Dolby Lab’ys
Licensing Corp. v. Adobe Inc., 402 F. Supp. 3d 855, 866 (N.D. Cal. 2019); Chrimar Sys. Inc. v.
Cisco Sys. Inc., 2016 WL 1595785, at *3 (N.D. Cal. Apr. 21, 2016).

        PRIV-APL-EG_00171672 is an agenda for a call sent from a non-lawyer to two in-house
counsel (Ling Lew and Lacey Elmore) and two non-lawyers. The redacted items in the agenda
refer to open items regarding requirements and rules Apple was considering in connection with its
compliance options for new regulatory requirements in the European Union. Because the agenda
items indicate information on which the sender intends to seek legal advice from in-house counsel,
they are privileged. See In re Meta Healthcare Litig., 2024 WL 3381029, at *2 (N.D. Cal. July
10, 2024).

         PRIV-APL-EG_00266168 is an email exchange initiated by a non-lawyer seeking
feedback or “concerns from a legal perspective” on a slide deck related to Apple’s efforts in the
European Union to comply with new regulatory requirements. The initial email is sent to Kyle
Andeer, Sean Cameron (both in-house counsel), and one non-lawyer. Although the non-lawyer is
the first to provide feedback, if disclosed, the substance of that feedback (and the first non-lawyer’s
response) necessarily would reveal the content on which the non-lawyer was seeking “legal”
feedback from Mr. Andeer and Mr. Cameron. Such information is properly redacted as privileged.
See In re Meta Healthcare Litig., 2024 WL 3381029, at *2.




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    Case 4:20-cv-05640-YGR   Document 1437      Filed 04/08/25   Page 3 of 3




DATED: April 8, 2025                    WEIL, GOTSHAL & MANGES LLP
                                        By: /s/ Mark A. Perry
                                        Counsel for Defendant Apple Inc.




                                    3
